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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA

                                              CASE NO.

  VICTOR ARIZA,

         Plaintiff,

  vs.


  ZARA USA, INC., a foreign for-profit
  corporation,

        Defendant.
  __________________________________/

                                            COMPLAINT

         Plaintiff VICTOR ARIZA, through undersigned counsel, sues Defendant ZARA USA,

  INC., a foreign for-profit corporation, and alleges as follows:

         1.      This is an action for declaratory and injunctive relief, attorney’s fees, costs, and

  litigation expenses for unlawful disability discrimination in violation of Title III of the Americans

  with Disabilities Act, 42 U.S.C. §§12181-12189 (“ADA”), as amended, and 28 C.F.R. Part 36.

  This is also an action for declaratory and injunctive relief, damages, attorney’s fees, costs, and

  litigation expenses for unlawful disability discrimination in violation of the Miami-Dade County

  Code of Ordinances, §§11A-19(a)(1), 11A-19(a)(3)(c) and (d), 11A-24(1), and 11A-24(2)

  (“Miami-Dade Code”).

         2.      This Court has jurisdiction over this case based on federal question jurisdiction, 28

  U.S.C. §1331, and the provisions of the ADA. Plaintiff seeks declaratory and injunctive relief

  pursuant to 28 U.S.C. §§2201 and 2202. In addition, this Court has supplementary jurisdiction

  over Plaintiff’s state law claim for violation of the Miami-Dade Code pursuant to 28 U.S.C. §1367.



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         3.      Venue is proper in this Court as all actions complained of herein and injuries and

  damages suffered occurred in the Southern District of Florida.

         4.      Plaintiff VICTOR ARIZA is a resident of Miami-Dade County, Florida, is sui juris,

  and is disabled as defined by the ADA and ADA Amendments Act of 2008, 42 U.S.C. §12101

  (“ADAAA”), and the Miami-Dade Code, §11A-2(17)(a)..

         5.      Plaintiff is and at all relevant times has been blind and visually disabled in that he

  suffers from optical nerve atrophy, a permanent eye disease and medical condition that

  substantially and significantly impairs his vision and limits his ability to see. Plaintiff thus is

  substantially limited in performing one or more major life activities, including, but not limited to,

  seeing, accurately visualizing his world, and adequately traversing obstacles As such, he is a

  member of a protected class under the ADA, 42 U.S.C. §12102(1)-(2), the regulations

  implementing the ADA set forth at 28 CFR §§36.101, et seq., 42 U.S.C. §3602(h), and the Miami-

  Dade Code, §11A-2(17)(a). Plaintiff further is an advocate of the rights of similarly situated

  disabled persons and is a “tester” for the purposes of asserting his civil rights and monitoring,

  ensuring, and determining whether places of public accommodation and/or their respective and

  associated websites are in compliance with the ADA, the Miami-Dade Code, and any other

  applicable disability laws, regulations, and ordinances.

         6.      Because he is blind and visually disabled, Plaintiff cannot use his computer without

  the assistance of appropriate and available auxiliary aids, screen reader software, and other

  technology and assistance. Screen reader software translates the visual internet into an auditory

  equivalent. At a rapid pace, the software reads the content of a webpage to the user. “The screen

  reading software uses auditory cues to allow a visually impaired user to effectively use websites.

  For example, when using the visual internet, a seeing user learns that a link may be ‘clicked,’



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  which will bring him to another webpage, through visual cues, such as a change in the color of the

  text (often text is turned from black to blue). When the sighted user's cursor hovers over the link,

  it changes from an arrow symbol to a hand. The screen reading software uses auditory -- rather

  than visual -- cues to relay this same information. When a sight impaired individual reaches a link

  that may be ‘clicked on,’ the software reads the link to the user, and after reading the text of the

  link says the word ‘clickable.’…Through a series of auditory cues read aloud by the screen reader,

  the visually impaired user can navigate a website by listening and responding with his keyboard.”

  Andrews v. Blick Art Materials, LLC, 17-CV-767, 2017 WL 6542466, at *6-7 (E.D.N.Y. Dec. 21,

  2017).

           7.    Defendant is a foreign for-profit corporation authorized to do business and doing

  business in the State of Florida. Defendant owns, operates, and/or controls a chain of retail stores

  selling clothing and accessories, including one of the stores that Plaintiff intended to patronize in

  the near future located in Aventura, Florida.

           8.    Plaintiff’s visual disability limits him in the performance of major life activities,

  including sight, and he requires assistive technologies, auxiliary aids, and services for effective

  communication, including communication in connection with his use of a computer.

           9.    Plaintiff frequently accesses the internet.      Because he is significantly and

  permanently blind and visually disabled, to effectively communicate and comprehend information

  available on the internet and thereby access and comprehend websites, Plaintiff uses commercially

  available screen reader software to interface with the various websites.

           10.   At all times material hereto, Defendant was and still is an organization that owns,

  operates, and/or controls a chain of retail stores selling clothing and accessories under the brand

  name “Zara”. Each “Zara” store is open to the public. As the owner and operator of these retail



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  stores, Defendant is defined as a place of “public accommodation" within meaning of the ADA

  because Defendant is a private entity which owns and/or operates “a bakery, grocery store, clothing

  store, hardware store, shopping center, or other sales or rental establishment,” per 42 U.S.C.

  §12181(7)(E) and 28 C.F.R. §36.104(2).        Defendant is also defined as a “place of public

  accommodation” because it is a private entity which owns and/or operates “[a] bakery, grocery

  store, clothing store, hardware store, shopping center, or other sales or rental establishment,” per

  the Miami-Dade Code §11A-20(e).

         11.     Because Defendant is a store open to the public, each of Defendant’s physical stores

  is a place of public accommodation subject to the requirements of the ADA, 42 U.S.C. §12182,

  §12181(7)(E), and its implementing regulation; 28 C.F.R. Part 36, and a place of public

  accommodation subject to the requirements of the Miami-Dade Code, §11A-20(e).

         12.     Defendant also controls, maintains, and/or operates an adjunct website,

  https://www.zara.com/us (the “Website”). One of the functions of the Website is to provide the

  public information on the locations of Defendant’s stores through a “store locator” feature

  incorporated into the website that identifies physical store locations that sell Defendant’s

  merchandise throughout the United States and in the State of Florida. Defendant also sells to the

  public its merchandise through the Website, which acts as a point of sale for merchandise available

  in, from, and through Defendant’s physical stores. In addition, Defendant’s website allows the

  public to purchase gift cards for use online and in the physical stores and allows users to arrange

  for in-store pickups and returns of merchandise purchased online.

         13.     The Website also services Defendant’s physical stores by providing information on

  its available products, services, tips and advice, editorials, sales campaigns, events, and other

  information that Defendant is interested in communicating to its customers.



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            14.   Because the Website allows the public the ability to secure information about the

  locations of Defendant’s physical stores, purchase merchandise also available for purchase in and

  from the physical stores, purchase gift cards for use online and in the physical stores, arrange in-

  store pickups and returns of merchandise purchased online, and sign up for an emailer to receive

  exclusive online offers, benefits, invitations, and discounts for use online and in the physical stores,

  the Website has a nexus to, and is an extension of and gateway to, the goods, services, privileges,

  and advantages of Defendant’s physical stores, which are places of public accommodation under

  the ADA and the Miami-Dade Code. As an extension of and service, privilege, and advantage

  provided by a place of public accommodation as defined under the ADA and the Miami-Dade

  Code, the Website is an extension of the services, privileges, and advantages made available to the

  general public by Defendant at and through its brick-and-mortar locations and businesses.

  Furthermore, the Website is a necessary service and privilege of Defendant’s physical stores in

  that, as a point of sale for Defendant’s stores, it enables users of the Website to make online

  purchases of Defendant’s merchandise that is also available from and in its network physical

  stores.

            15.   Because the public can view and purchase Defendant’s goods through the Website

  that are also offered for sale in Defendant’s physical stores, thus having the Website act as a point

  of sale for Defendant’s products that are also sold in the physical stores, purchase gift cards to

  make purchases both online and in the physical stores, arrange in-store pickups and returns of

  merchandise purchased online, and sign up for an emailer to receive exclusive online offers,

  benefits, invitations, and discounts for use online and in the physical stores, the Website is an

  extension of, and gateway to the physical stores, which are places of public accommodation

  pursuant to the ADA, 42 U.S.C. §12181(7)(E), and pursuant to the Miami-Dade Code, §11A-20(e).



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  As such, the Website is a necessary service, privilege, and advantage of Defendant’s brick-and-

  mortar stores that must comply with all requirements of the ADA and the Miami-Dade Code, must

  not discriminate against individuals with visual disabilities, and must not deny those individuals

  the same full and equal access to and enjoyment of the goods, services, privileges, and advantages

  afforded the non-visually disabled public both online and in the physical stores.

         16.     At all times material hereto, Defendant was and still is an organization owning and

  operating the Website. Since the Website is open to the public through the internet, by this nexus

  the Website is an intangible service, privilege, and advantage of Defendant’s brick and mortar

  stores that must comply with all requirements of the ADA and the Miami-Dade Code, must not

  discriminate against individuals with visual disabilities, and must not deny those individuals the

  same full and equal access to and enjoyment of the goods, services, privileges, and advantages as

  are afforded the non-visually disabled public both online and in the physical stores. As such,

  Defendant has subjected itself and the Website to the requirements of the ADA and the Miami-

  Dade Code.

         17.     Plaintiff is and has been a customer who is interested in patronizing, and intends to

  patronize in the near future once the Website’s access barriers are removed or remedied,

  Defendant’s physical stores (including the store located in Aventura, Florida), and to search for

  the brick-and-mortar stores, check store hours and merchandise pricing, purchase merchandise and

  gift cards, arrange in-store pickups and returns of merchandise purchased online, and sign up for

  an emailer to receive exclusive offers, benefits, invitations, and discounts for use at the Website or

  in Defendant’s physical stores. In the alternative, Plaintiff intends to monitor the Website in the

  near future as a tester to ascertain whether it has been updated to interact properly with screen

  reader software.



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         18.     The opportunity to shop and pre-shop Defendant’s merchandise, purchase gift cards

  online, arrange in-store pickups and returns, and sign up for an electronic emailer to receive

  exclusive online offers, benefits, invitations, and discounts for use both online and in the physical

  stores from his home are important and necessary accommodations for Plaintiff because traveling

  outside of his home as a blind and visually disabled individual is often a difficult, hazardous,

  frightening, frustrating, and confusing experience. Defendant has not provided its business

  information in any other digital format that is accessible for use by blind and visually impaired

  individuals using the screen reader software.

         19.     Like many consumers, Plaintiff accesses a number of websites at a time to help plan

  his visits and to compare merchandise, prices, sales, discounts, and promotions. Plaintiff may look

  at several dozens of sites to compare features, discounts, promotions, and prices.

         20.     In May 2021 and again in April 2022, Plaintiff attempted on a number of occasions

  to utilize the Website to browse through the merchandise and online offers to educate himself as

  to the merchandise, sales, discounts, and promotions being offered, learn about the brick-and-

  mortar stores, check store hours, and check merchandise pricing with the intent to make a purchase

  through the Website or in one of the physical stores. Plaintiff also attempted to access and utilize

  the Website in his capacity as a tester to determine whether it was accessible to blind and visually

  disabled persons such as himself who use screen reader software to access and navigate company

  websites.

         21.     Plaintiff utilizes available screen reader software that allows individuals who are

  blind and visually disabled to communicate with websites. However, Defendant’s Website

  contains access barriers that prevent free and full use by blind and visually disabled individuals




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  using keyboards and available screen reader software. These barriers are pervasive and include,

  but are not limited to:

                 a. Products information like regular price and sales price not properly labeled;

                 b. Size options are not properly labeled;

                 c. Products description as well as material & care information are not labeled to
                 integrate with the screen reader;

                 d. Size guide information is inaccessible.

                 e. On the “Contact Us” page, the chat, telephone number and hours of operation
                 are not accessible; the Facebook and Twitter buttons are mislabeled as Zaracare
                 and Zara Care; also, the Instagram button is not properly labeled; and

                 f. Text throughout the website is not labeled, for example on the Exchange and
                 Returns page in the Special Conditions link, the cursor skips the information and
                 navigates to the nearest available link, button, or header. The notification of when
                 a product is coming soon is inaccessible.

         22.     The Website also lacks prompting information and accommodations necessary to

  allow visually disabled individuals who use screen reader software to locate and accurately fill

  out online forms to purchase Defendant’s merchandise from the Website.

         23.     Plaintiff attempted to locate an “accessibility” notice, statement, or policy on the

  Website that would direct him to a webpage with contact information for disabled individuals who

  have questions or concerns about, or who are having difficulties communicating with, the Website.

  Although the Website appeared to have an “accessibility” statement displayed, that “accessibility”

  statement still could not be effectively accessed by, and continued to be a barrier to, blind and

  visually disabled persons, including Plaintiff. Plaintiff, thus, was unable to receive any meaningful

  or prompt assistance through the “accessibility” statement to enable him to quickly, fully, and

  effectively navigate the Website.




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         24.     The fact that Plaintiff could not communicate with or within the Website left him

  feeling excluded as he is unable to participate in the same shopping experience, with the same

  access to the merchandise, sales, discounts, and promotions, as provided at the Website and in the

  physical stores as the non-visually disabled public.

         25.     Plaintiff desires and intends, in the near future once the Website’s access barriers

  are removed or remedied, to patronize Defendant’s physical stores and to use the Website, but he

  is presently unable to fully do so as he is unable to effectively communicate with Defendant due

  to his severe visual disability and the Website’s access barriers. Alternatively, as a tester using

  scree reader software, Plaintiff is unable to effectively access, navigate, and communicate with

  Defendant through the Website due to his severe blindness and visual disability and the Website’s

  access barriers. Thus, Plaintiff, as well as others who are blind and with visual disabilities, will

  suffer continuous and ongoing harm from Defendant’s intentional acts, omissions, policies, and

  practices as set forth herein unless properly enjoined by this Court.

         26.     Because of the nexus between Defendant’s retail stores and the Website, and the

  fact that the Website clearly provides support for and is connected to Defendant’s retail stores for

  its operation and use, the Website is an intangible service, privilege, and advantage of Defendant’s

  brick-and-mortar stores that must comply with all requirements of the ADA and the Miami-Dade

  Code, must not discriminate against individuals with disabilities, and must not deny those

  individuals the same full and equal access to and enjoyment of the goods, services, privileges, and

  advantages as afforded the non-visually disabled public both online and in the physical stores,

  which are places of public accommodations subject to the requirements of the ADA and the

  Miami-Dade Code.




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          27.     On information and belief, Defendant has not initiated a Web Accessibility Policy

  to ensure full and equal use of the Website by individuals with disabilities.

          28.     On information and belief, Defendant has not instituted a Web Accessibility

  Committee to ensure full and equal use of Website by individuals with disabilities.

          29.     On information and belief, Defendant has not designated an employee as a Web

  Accessibility Coordinator to ensure full and equal use of the Website by individuals with

  disabilities.

          30.     On information and belief, Defendant has not instituted a Web Accessibility User

  Accessibility Testing Group to ensure full and equal use of the Website by individuals with

  disabilities.

          31.     On information and belief, Defendant has not instituted a User Accessibility

  Testing Group to ensure full and equal use of the Website by individuals with disabilities.

          32.     On information and belief, Defendant has not instituted a Bug Fix Priority Policy.

          33.     On information and belief, Defendant has not instituted an Automated Web

  Accessibility Testing program.

          34.     Defendant has not created and instituted a Specialized Customer Assistance line or

  service or email contact mode for customer assistance for the visually disabled.

          35.     Defendant has not created and instituted on the Website a page for individuals with

  disabilities, nor displayed a link and information hotline, nor created an information portal

  explaining when and how Defendant will have the Website, applications, and digital assets

  accessible to the visually disabled or blind community.

          36.     The Website does not meet the Web Content Accessibility Guidelines (“WCAG”)

  2.0 Level AA or higher versions of web accessibility.



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         37.     Defendant has not disclosed to the public any intended audits, changes, or lawsuits

  to correct the inaccessibility of the Website to visually disabled individuals who want the safety

  and privacy of purchasing Defendant’s merchandise offered on the Website from their homes.

         38.     Thus, Defendant has not provided full and equal access to and enjoyment of the

  goods, services, facilities, privileges, advantages, and accommodations provided by and through

  the Website in contravention of the ADA and the Miami-Dade Code.

         39.     Further, public accommodations under the ADA and the Miami-Dade Code must

  ensure that their places of public accommodation provide effective communication for all

  members of the general public, including individuals with visual disabilities such as Plaintiff.

         40.     The broad mandates of the ADA and the Miami-Dade Code are to provide equal

  opportunity for individuals with disabilities to participate in and benefit from all aspects of

  American civic and economic life. That mandates extend to internet shopping websites such as

  the Website at issue in the instant action.

         41.     Defendant is, and at all relevant times has been, aware of the barriers to effective

  communication within the Website which prevent individuals with visual disabilities from the

  means to comprehend information presented therein.

         42.     Defendant is, and at all relevant times has been, aware of the need to provide full

  access to all visitors to the Website.

         43.      The barriers that exist on the Website result in discriminatory and unequal

  treatment of individuals with visual disabilities, including Plaintiff.

         44.     Plaintiff has no plain, adequate, or complete remedy at law to redress the wrongs

  alleged hereinabove, and this suit for declaratory judgment and injunctive relief is his only means




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  to secure adequate and complete redress from Defendant’s unlawful and discriminatory practices

  in connection with its website access and operation.

         45.     Notice to Defendant is not required under the ADA because of Defendant’s failure

  to cure the violations. As to the Miami-Dade Code, Plaintiff has exhausted all of his available

  administrative remedies and brings this action within 90 days of issuance of a right-to-sue notice

  by the Director of the Miami-Dade Commission on Human Rights (“MDCHR”), as provided by

  the Miami-Dade Code, §11A-24. A copy of the MDCHR’s right-to-sue notice is attached as

  Exhibit ”A”.

         46.     Enforcement of Plaintiff’s rights under the ADA and the Miami-Dade Code is right

  and just pursuant to 28 U.S.C. §§2201 and 2202.

         47.     Plaintiff has retained the undersigned attorneys to represent him in this case and

  has agreed to pay them a reasonable fee for their services.

                             COUNT I – VIOLATION OF THE ADA

         48.     Plaintiff re-alleges paragraphs 1 through 47 as if set forth fully herein.

         49.     Defendant is a public accommodation under the ADA as defined within

  §12181(7)(E) and thus is subject to the ADA.

         50.     Pursuant to 42 U.S.C. §12181(7)(E), the Website is covered under the ADA

  because it provides the general public with the ability to locate and learn about Defendant’s stores,

  purchase merchandise that is also available for purchase in the physical stores, purchase gift cards

  for use both online and in the physical stores, arrange in-store pickups and returns of merchandise

  purchased online, and sign up for an emailer to receive exclusive online offers, benefits,

  invitations, and discounts for use both online and in the physical stores. The Website thus is an

  extension of, gateway to, and intangible service, privilege, and advantage of Defendant’s physical



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  stores. Further, the Website also serves to augment Defendant’s physical stores by providing the

  public information about the physical stores and by educating the public as to Defendant’s

  available merchandise sold through the Website and in the physical stores.

         51.     Under Title III of the ADA, 42 U.S.C. §12182(b)(1)(A)(II), it is unlawful

  discrimination to deny individuals with disabilities or a class of individuals with disabilities an

  opportunity to participate in or benefit from the goods, services, facilities, privileges, advantages,

  or accommodation, which is equal to the opportunities afforded to other individuals.

         52.     Specifically, under Title III of the ADA, 42 U.S.C. §12182(b)(2)(A)(II), unlawful

  discrimination includes, among other things, “a failure to make reasonable modifications in

  policies, practices, or procedures, when such modifications are necessary to afford such goods,

  services, facilities, privileges, advantages, or accommodations to individuals with disabilities,

  unless the entity can demonstrate that making such modifications would fundamentally alter the

  nature of such goods, services, facilities, privileges, advantages or accommodations.”

         53.     In addition, under Title III of the ADA, 42 U.S.C. §12182(b)(2)(A)(III), unlawful

  discrimination includes, among other things, “a failure to take such steps, as may be necessary to

  ensure that no individual with a disability is excluded, denied services, segregated or otherwise

  treated differently than other individuals because of the absence of auxiliary aids and services,

  unless the entity can demonstrate that taking such steps would fundamentally alter the nature of

  the good, service, facility, privilege, advantage, or accommodation being offered or would result

  in an undue burden.”

         54.     Defendant’s Website must comply with the ADA, but it does not as specifically

  alleged hereinabove and below.




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         55.     Because of the inaccessibility of the Website, individuals with visual disabilities

  are denied full and equal access to and enjoyment of the goods, information, and services that

  Defendant has made available to the public on its Website and in its physical stores in violation of

  42 U.S.C. §12101, et seq, and as prohibited by 42 U.S.C. §12182, et seq.

         56.     The Website was subsequently visited by Plaintiff’s expert in May 2021 and again

  in April, 2022, and the expert determination was that the same access barriers that Plaintiff had

  initially encountered, as well as numerous additional access barriers, existed. Despite being a

  defendant in prior ADA accessibility lawsuits, which likely resulted in confidential settlements

  that obligated Defendant to fully remediate the Website, Defendant has made insufficient material

  changes or improvements to the Website to enable its full use and enjoyment by, and accessibility

  to, blind and visually disabled persons such as Plaintiff. When the Website was visited by the

  expert, although the Website appeared to have an “accessibility” statement link on its home page,

  that “accessibility” statement still could not be effectively used or accessed by, and continued to

  be a barrier to, blind and visually disabled persons such as Plaintiff. Defendant thus has failed to

  make reasonable modifications in its policies, practices, or procedures when such modifications

  are necessary to afford goods, services, facilities, privileges, advantages, or accommodations to

  individuals with disabilities, in violation of 28 C.F.R. §36.302. The lack of a viable and effective

  “accessibility” notice, policy, or statement and the numerous access barriers as set forth in the

  Declaration of Plaintiff’s expert, Robert D. Moody, attached hereto as Composite Exhibit “B” and

  the contents of which are incorporated herein by reference, continue to render the Website not

  fully accessible to users who are blind and visually disabled, including Plaintiff.

         57.     More violations may be present on other pages of the Website, which can and will

  be determined and proven through the discovery process in this case.



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         58.     There are readily available, well-established guidelines on the internet for making

  Websites accessible to the blind and visually disabled. These guidelines have been followed by

  other large business entities in making their websites accessible. Examples of such guidelines

  include, but are not limited to, adding alt-text to graphics and ensuring that all functions can be

  performed using a keyboard. Incorporating such basic components to make the Website accessible

  would neither fundamentally alter the nature of Defendant’s business nor would it result in an

  undue burden to Defendant.

         59.     Defendant has violated the ADA -- and continues to violate the ADA -- by denying

  access to the Website by individuals such as Plaintiff with visual disabilities who require the

  assistance of interface with screen reader software to comprehend and access internet websites.

  These violations within the Website are ongoing.

         60.     The ADA requires that public accommodations and places of public

  accommodation ensure that communication is effective.

         61.     According to 28 C.F.R. §36.303(b)(1), auxiliary aids and services include “voice,

  text, and video-based telecommunications products and systems”. Indeed, 28 C.F.R. §36.303(b)(2)

  specifically states that screen reader software is an effective method of making visually delivered

  material available to individuals who are blind or have low vision.

         62.     According to 28 C.F.R. §36.303(c), public accommodations must furnish

  appropriate auxiliary aids and services where necessary to ensure effective communication with

  individuals with disabilities: “In order to be effective, auxiliary aids and services must be provided

  in accessible formats, in a timely manner, and in such a way as to protect the privacy and

  independence of the individual with a disability,” 28 C.F.R. §36.303(c)(1)(ii).




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         63.     Part 36 of Title 28 of the C.F.R. was designed and is implemented to effectuate

  subtitle A of Title III of the ADA, which prohibits discrimination on the basis of disability by

  public accommodations, and requires places of public accommodation to be designed, constructed,

  and altered in compliance with the accessibility standards established by Part 36.

         64.     As alleged hereinabove, the Website has not been designed to interface with the

  widely and readily available technologies that can be used to ensure effective communication, and

  thus violates the ADA.

         65.     As a direct and proximate result of Defendant’s failure to provide an ADA

  compliant Website, with a nexus to its brick-and-mortar physical store locations, Plaintiff has

  suffered an injury in fact by being denied full access to, enjoyment of, and communication with

  Defendant’s Website and its physical stores.

         66.     Because of the inadequate development and administration of the Website, Plaintiff

  is entitled to injunctive relief pursuant to 42 U.S.C. §12133 and 28 C.F.R. §36.303, to remedy the

  ongoing disability discrimination.

         67.     Pursuant to 42 U.S.C. §12188, this Court is vested with the authority to grant

  Plaintiff appropriate and necessary injunctive relief, including an order to:

         a) Require Defendant to adopt and implement a web accessibility policy to make publicly

  available and directly link from the homepage of the Website to a functional statement as to the

  Defendant’s policy to ensure persons with disabilities have full and equal access to and enjoyment

  of the goods, services, facilities, privileges, advantages, and accommodations through the Website.

         b) Require Defendant to take the necessary steps to make the Website readily accessible

  to and usable by blind and visually disabled users, and during that time period prior to the

  Website’s being made readily accessible, provide an alternative method for individuals with visual



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  disabilities to access the information available on the Website until such time that the requisite

  modifications are made, and

         c) Require Defendant to provide the appropriate auxiliary aids such that individuals with

  visual disabilities will be able to effectively communicate with the Website for purposes of

  viewing and locating Defendant’s physical stores and becoming informed of and purchasing

  Defendant’s merchandise, and during that time period prior to the Website’s being designed to

  permit individuals with visual disabilities to effectively communicate, to provide an alternative

  method for individuals with visual disabilities to effectively communicate for such goods and

  services made available to the general public through the Website.

         68.      Plaintiff is entitled to recover his reasonable attorney’s fees, costs, and expenses

  pursuant to the ADA. To that end, Plaintiff has been obligated to retain the undersigned counsel

  for the filing and prosecution of this action and has agreed to pay them a reasonable fee for their

  services.

         WHEREFORE, Plaintiff requests entry of judgment in his favor and against Defendant for

  the following relief:

         A. A declaration that Defendant’s Website is in violation of the ADA;

         B. An Order requiring Defendant, by a date certain, to update the Website, and continue

               to monitor and update the Website on an ongoing basis, to remove barriers in order that

               individuals with visual disabilities can access, and continue to access, the Website and

               effectively communicate with the Website to the full extent required by Title III of the

               ADA;




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        C. An Order requiring Defendant, by a date certain, to clearly display the universal

           disabled logo within the Website, wherein the logo 1 would lead to a page which would

           state Defendant’s accessibility information, facts, policies, and accommodations. Such

           a clear display of the disabled logo is to ensure that individuals who are disabled are

           aware of the availability of the accessible features of the Website;

        D. An Order requiring Defendant, by a date certain, to provide ongoing support for web

           accessibility by implementing a website accessibility coordinator, a website application

           accessibility policy, and providing for website accessibility feedback to ensure

           compliance thereto;

        E. An Order directing Defendant, by a date certain, to evaluate its policies, practices and

           procedures toward persons with disabilities, for such reasonable time to allow

           Defendant to undertake and complete corrective procedures to its Website;

        F. An Order directing Defendant, by a date certain, to establish a policy of web

           accessibility and accessibility features for the Website to ensure effective

           communication for individuals who are visually disabled;

        G. An Order requiring, by a date certain, that any third-party vendors who participate on

           Defendant’s Website to be fully accessible to the visually disabled;

        H. An Order directing Defendant, by a date certain and at least once yearly thereafter, to

           provide mandatory web accessibility training to all employees who write or develop

           programs or code for, or who publish final content to, the Website on how to conform




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                    or similar.
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                  all web content and services with ADA accessibility requirements and applicable

                  accessibility guidelines;

            I. An Order directing Defendant, by a date certain and at least once every three months

                  thereafter, to conduct automated accessibility tests of the Website to identify any

                  instances where the Website is no longer in conformance with the accessibility

                  requirements of the ADA and any applicable accessibility guidelines, and further

                  directing Defendant to send a copy of the twelve (12) quarterly reports to Plaintiff’s

                  counsel for review;

            J. An Order directing Defendant, by a date certain, to make publicly available and directly

                  link from the Website homepage, a statement of Defendant’s Accessibility Policy to

                  ensure the persons with disabilities have full and equal enjoyment of the Website and

                  shall accompany the public policy statement with an accessible means of submitting

                  accessibility questions and problems;

            K. An award to Plaintiff of her reasonable attorney’s fees, costs and expenses; and

            L. Such other and further relief as the Court deems just and equitable.

                       COUNT II – VIOLATION OF THE MIAMI-DADE CODE

            69.      Plaintiff re-alleges paragraphs 1 through 47 and 56 through 58 as if set forth fully

  herein.

            70.      The Miami-Dade Code provides specifically for a private right of action for any

  persons aggrieved by violations of the Miami-Dade Code public accommodations provisions per

  §11A-24(1), upon the exhaustion of administrative remedies provided by the Miami-Dade Code

  and the issuance of a right-to-sue notice by the Director of the MDCHR.




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         71.     Defendant is a public accommodation under the Miami-Dade Code as defined

  within §11A-20(e) and thus is subject to Article III, Chapter 11A, §§11A-19 through 11A-24 of

  the Miami-Dade Code.

         72.     Pursuant to §11A-20(e), the Website is covered under the Miami-Dade Code

  because it provides the general public with the ability to locate and learn about Defendant’s stores,

  purchase merchandise that is also available for purchase in the physical stores, purchase gift cards

  to purchase merchandise both online and in the physical stores, process returns of merchandise

  purchased online at the physicals stores, and sign up for an emailer to receive exclusive online

  offers, benefits, invitations, and discounts for use both online and in the physical stores. The

  Website thus is an extension of, gateway to, and intangible service, privilege, and advantage of

  Defendant’s physical stores. Further, the Website also serves to augment Defendant’s physical

  stores by providing the public information about the physical stores and by educating the public

  as to Defendant’s available merchandise sold through the Website and in the physical stores.

         73.     Under §11A-19(a)(1) of the Miami-Dade Code, it is unlawful discrimination to To

  “refuse, withhold or deny to a person any services, access, advantages, goods, facilities or

  privileges of a public accommodation.”

         74.     Under §11A-19(a)(3)(c) of the Miami-Dade Code, unlawful discrimination

  includes, among other things, a “[f]ailure to make reasonable modifications in policies, practices

  or procedures, when such modifications are necessary to afford such goods, services, facilities,

  privileges, advantages or accommodations to individuals with disabilities, unless the entity can

  demonstrate that making such modifications would fundamentally alter the nature of such goods,

  service, facilities, privileges, advantages or accommodations.”




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         75.     In addition, under §11A-19(a)(3)(d) of the Miami-Dade Code, unlawful

  discrimination includes, among other things, a “[f]ailure to take such steps as may be necessary to

  ensure that no individual with a disability is excluded, denied services, segregated or otherwise

  treated differently than other individuals because of the absence of auxiliary aids and services,

  unless the entity can demonstrate that taking such steps would fundamentally alter the nature of

  the good, service, facility, privilege, advantage or accommodation being offered or would result

  in an undue burden.”

         76.     Defendant’s Website must comply with the Miami-Dade Code, but it does not as

  specifically alleged hereinabove and below.

         77.     Because of the inaccessibility of the Website, individuals with visual disabilities

  are denied full and equal access to and enjoyment of the goods, information, and services that

  Defendant has made available to the public on its Website and in its physical stores in violation of

  the Miami-Dade Code, specifically §§11A-19(a)(1), 11A-19(a)(3)(c) and (d).

         78.     Defendant has violated the Miami-Dade Code -- and continues to violate the

  Miami-Dade Code -- by denying access to the Website by individuals such as Plaintiff with visual

  disabilities who require the assistance of interface with screen reader software to comprehend and

  access internet websites. These violations within the Website are ongoing.

         79.     The Miami-Dade Code requires that public accommodations and places of public

  accommodation ensure that communication is effective.

         80.     As alleged hereinabove, the Website has not been designed to interface with the

  widely and readily available technologies that can be used to ensure effective communication, and

  thus violates the ADA.




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         81.     As a direct and proximate result of Defendant’s failure to provide a Miami-Dade

  Code compliant website, with a nexus to its brick-and-mortar physical store locations, Plaintiff has

  suffered an injury in fact by being denied full access to, enjoyment of, and communication with

  Defendant’s Website and its physical stores.

         82.     As a direct and proximate result of Defendant’s failure to provide a Miami-Dade

  Code compliant website, with a nexus to its brick-and-mortar physical store locations, Plaintiff has

  suffered, and will continue to suffer, emotional distress, frustration, and humiliation due to the

  discriminatory conditions and access barriers present on the Website. By continuing to operate the

  Website with discriminatory conditions, Defendant contributes to Plaintiff's sense of isolation and

  segregation, and deprives Plaintiff the full and equal access to and enjoyment of Defendant’s

  goods, services, and benefits available to the non-visually disabled, general public. By

  encountering the discriminatory conditions at the Website and knowing that it would be a futile

  gesture to attempt to utilize the Website unless he is willing to endure additional discrimination,

  Plaintiff is deprived of the meaningful choice to freely visit and utilize the same stores or the

  Website readily available to the non-visually disabled public and is deterred and discouraged from

  doing so. By maintaining a Website with access barriers and violations, Defendant deprives

  Plaintiff from the equal access to, and same participation in and benefits from, Defendant’s goods

  and services available on the Website and in the physical stores as the non-visually disabled public.

         83.     Plaintiff thus has suffered and will continue to suffer direct and indirect injury as a

  result of Defendant's discrimination until the Defendant is compelled to comply with the

  requirements of the Miami-Dade Code.




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         84.     Because of the inadequate development and administration of the Website, Plaintiff

  is entitled to injunctive relief pursuant to the Miami-Dade Code §11A-24(1) to remedy the ongoing

  disability discrimination.

         85.     Pursuant to the Miami-Dade Code §11A-24(1), this Court is vested with the

  authority to grant Plaintiff appropriate and necessary injunctive relief, including an order to:

         a) Require Defendant to adopt and implement a web accessibility policy to make publicly

  available and directly link from the homepage of the Website to a functional statement as to the

  Defendant’s policy to ensure persons with disabilities have full and equal access to and enjoyment

  of the goods, services, facilities, privileges, advantages, and accommodations through the Website.

         b) Require Defendant to take the necessary steps to make the Website readily accessible

  to and usable by blind and visually disabled users, and during that time period prior to the

  Website’s being made readily accessible, provide an alternative method for individuals with visual

  disabilities to access the information available on the Website until such time that the requisite

  modifications are made, and

         c) Require Defendant to provide the appropriate auxiliary aids such that individuals with

  visual disabilities will be able to effectively communicate with the Website for purposes of

  viewing and locating Defendant’s physical stores and becoming informed of and purchasing

  Defendant’s merchandise, and during that time period prior to the Website’s being designed to

  permit individuals with visual disabilities to effectively communicate, to provide an alternative

  method for individuals with visual disabilities to effectively communicate for such goods and

  services made available to the general public through the Website.

         86.     Plaintiff is entitled to recover his reasonable attorney’s fees, costs, and expenses

  pursuant to the Miami-Dade Code, §11A-24(1). To that end, Plaintiff has been obligated to retain



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  the undersigned counsel for the filing and prosecution of this action and has agreed to pay them a

  reasonable fee for their services.

         WHEREFORE, Plaintiff requests entry of judgment in his favor and against Defendant for

  the following relief:

         A.      A declaration that Defendant’s Website is in violation of the Miami-Dade Code;

         B.      An Order requiring Defendant, by a date certain, to update the Website, and

                 continue to monitor and update the Website on an ongoing basis, to remove barriers

                 in order that individuals with visual disabilities can access, and continue to access,

                 the Website and effectively communicate with the Website to the full extent

                 required by the Miami-Dade Code;

         C.      An Order requiring Defendant, by a date certain, to clearly display the universal

                 disabled logo within the Website, wherein the logo would lead to a page which

                 would state Defendant’s accessibility information, facts, policies, and

                 accommodations. Such a clear display of the disabled logo is to ensure that

                 individuals who are disabled are aware of the availability of the accessible features

                 of the Website;

         D.      An Order requiring Defendant, by a date certain, to provide ongoing support for

                 web accessibility by implementing a website accessibility coordinator, a website

                 application accessibility policy, and providing for website accessibility feedback to

                 ensure compliance thereto;

         E.      An Order directing Defendant, by a date certain, to evaluate its policies, practices

                 and procedures toward persons with disabilities, for such reasonable time to allow

                 Defendant to undertake and complete corrective procedures to its Website;



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        F.    An Order directing Defendant, by a date certain, to establish a policy of web

              accessibility and accessibility features for the Website to ensure effective

              communication for individuals who are visually disabled;

        G.    An Order requiring, by a date certain, that any third-party vendors who participate

              on Defendant’s Website to be fully accessible to the visually disabled;

        H.    An Order directing Defendant, by a date certain and at least once yearly thereafter,

              to provide mandatory web accessibility training to all employees who write or

              develop programs or code for, or who publish final content to, the Website on how

              to conform all web content and services with Miami-Dade Code accessibility

              requirements and applicable accessibility guidelines;

        I.    An Order directing Defendant, by a date certain and at least once every three

              months thereafter, to conduct automated accessibility tests of the Website to

              identify any instances where the Website is no longer in conformance with the

              accessibility requirements of the Miami-Dade Code and any applicable

              accessibility guidelines, and further directing Defendant to send a copy of the

              twelve (12) quarterly reports to Plaintiff’s counsel for review;

        J.    An Order directing Defendant, by a date certain, to make publicly available and

              directly link from the Website homepage, a statement of Defendant’s Accessibility

              Policy to ensure the persons with disabilities have full and equal enjoyment of the

              Website and shall accompany the public policy statement with an accessible means

              of submitting accessibility questions and problems;

        K.    An award to Plaintiff of all his compensatory damages as allowed by the Miami-

              Dade Code, §11A-24(1);



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         L.     An award to Plaintiff of her reasonable attorney’s fees, costs and expenses; and

         M.     Such other and further relief as the Court deems just and equitable.

         DATED: May 2, 2022.

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